Case: 3:21-cv-00212-WHR-PBS Doc #: 8 Filed: 10/06/21 Page: 1 of 1 PAGEID #: 47




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                          WESTERN DIVISION AT DAYTON


JOSHUA RUSSELL                                       CASE N0.3:21cv212


       Plaintiff,
                                                     JUDGE WALTER H. RICE
V.



SPRINGFIELD ALF LLC,et al.

       Defendants.




                    ORDER OF DISMISSAL; TERMINATION ENTRY



       The Court having been advised by counsel for the parties that the above matter has been

settled, IT IS ORDERED that this action is hereby DISMISSED,with prejudice as to the parties,

provided that any of the parties may, upon good cause shown within 60 days,reopen the action if

settlement is not consummated.


       Parties intending to preserve this Court's jurisdiction to enforce the settlement should be

aware ofKokkonen v. Guardian Life Ins. Co. ofAmerica^ 114 S.Ct. 1673 (1994), and incorporate

appropriate language in any substituted judgment entry.

       The Court will retain jurisdiction to enforce the terms ofthe settlement between the parties,if

necessary.


       IT IS SO ORDERED.



                                                              vO^

                                              WALTER H. RICE,JUDGE
                                              UNITED STATES DISTRICT COURT
